                   Case 2:21-cv-00031-BJR Document 9 Filed 01/12/21 Page 1 of 2




 1                                                                 The Honorable Barbara J. Rothstein

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 7                                       UNITED STATES DISTRICT COURT
                                        WESTERN DISTRICT OF WASHINGTON
 8                                                AT SEATTLE
 9 PARLER LLC,

10                                      Plaintiff,         No. 21-cv-00031
11            v.                                           NOTICE OF APPEARANCE
12 AMAZON WEB SERVICES, INC.,

13                                      Defendant.
14

15            Please take notice that Defendant Amazon Web Services, Inc. (“AWS”), hereby appears
16 in the above-entitled action and request that all further papers and pleadings, except original

17 process, be served upon the undersigned attorneys at the address below stated. Defendant AWS

18 appears in this matter without waiving any applicable defenses.
19

20
              DATED this 12th day of January, 2021.
21
                                                       Davis Wright Tremaine LLP
22                                                     Attorneys for Amazon Web Services, Inc.

23                                                     By /s/ Ambika Kumar Doran
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25                                                        Telephone: 206-622-3150
                                                          E-mail: adoran@dwt.com
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     NOTICE OF APPEARANCE - NO. 21-cv-00031 - 1                                         L AW O FFICE S
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                  Case 2:21-cv-00031-BJR Document 9 Filed 01/12/21 Page 2 of 2



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                                                                      Davis Wright Tremaine LLP
     NOTICE OF APPEARANCE - NO. 21-cv-00031 - 2                                L AW O FFICE S
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